Case:17-16783-CDP Doc#:64 Filed:02/06/19                       Entered:02/06/19 11:32:59 Page1 of 2
(COB Form nopd.jsp #152)(10/11)
                                  UNITED STATES BANKRUPTCY COURT
                                              District of Colorado

Lawrence Vernon Drake and Teresa           Case Number.: 17−16783−CDP
Linda Drake                                Chapter: 7
Debtor(s)
Debtor SSN/TaxId Nos.:
xxx−xx−3528
Joint Debtor SSN/Tax Id Nos.:
xxx−xx−3164




Debtor(s)
aka(s), if any will be listed on the following page

                                     NOTICE OF POSSIBLE DIVIDENDS

It appearing to the Trustee that a dividend to creditors is possible;

Creditors are hereby notified that if they desire to participate in a distribution of assets, they must file a
claim with the court no later than 5/13/19 .

Pursuant to Fed.R.B.P. 3002(c)(1) and (5) a proof of claim shall be filed BY A GOVERNMENTAL
UNIT not later than 180 days after the date of the order for relief .

All claimants who are seeking an administrative claim must obtain a Court Order pursuant to the
Bankruptcy Code.



Proof of Claim Forms should be filed with:
                             Clerk of the Bankruptcy Court
                             U.S. Custom House
                             721 19th Street
                             Denver, Colorado 80202−2508

A Proof of Claim form ("Official Form B 410") can be obtained at the United States Courts Website:
http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx or at any bankruptcy clerk's
office and may be used for filing a claim.

Dated: 2/7/19                                           s/ Daniel A. Hepner
                                                        950 Spruce St.
                                                        Ste., 1C
                                                        Louisville, CO 80027
Case:17-16783-CDP Doc#:64 Filed:02/06/19   Entered:02/06/19 11:32:59 Page2 of 2


Aliases Page
Debtor aka(s):
No Aliases for Debtor

Joint Debtor aka(s):
No Aliases for Joint Debtor
